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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 JENNY HWANG, on behalf of herself and all
 others similarly situated,
                                                                Docket No: 1:23-cv-614

                                  Plaintiffs,               NOTICE OF SETTLEMENT

                      -against-

 COCLICO, INC.

                                  Defendant.



Now comes the Plaintiff JENNY HWANG, by and through counsel, to provide notice to the Court

that the present cause has been settled between the parties, and states:

   1. A settlement in principle has been reached between Plaintiff and Defendant and settlement

       agreement (“Agreement”) is in the process of being finalized. Once the Agreement is fully

       executed, and certain conditions have been fulfilled pursuant to the Agreement, the parties

       will submit a Stipulation of Dismissal with prejudice, and without costs, pursuant to

       Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

   2. The parties respectfully request that the Court stay this case and adjourn all deadlines and

       conferences.

       Dated:     Queens, New York
                  April 13, 2023

                                                      Respectfully submitted,
                                                      /s/ Mars Khaimov
                                                      Mars Khaimov, Esq.
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